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                                                                                                                                                               US010397789B2

 (12) United States Patent                                                                                            ( 10) Patent No.: US 10 ,397,789 B2
      Diem                                                                                                            (45) Date of Patent: * Aug. 27, 2019
 (54) METHOD FOR CONTROLLING                                                                                   (56 )                                       References Cited
      CONVEYANCE OF EVENT INFORMATION
       ABOUT CARRIERS OF MOBILE DEVICES                                                                                                           U . S . PATENT DOCUMENTS
       BASED ON LOCATION INFORMATION                                                                                        5 ,223 , 844 A                       6 / 1993 Mandell et al.
       RECEIVED FROM LOCATION                                                                                               5 , 263, 158 A                      11/ 1993 Frederick
        INFORMATION SOURCES USED BY THE                                                                                                                            (Continued )
       MOBILE DEVICES
 (71) Applicant: Perdiem Co LLC , Marshal, TX (US)                                                                                        FOREIGN PATENT DOCUMENTS
 (72 ) Inventor: Darrell Diem , Madison , AL (US)                                                              EP                                 1720370 AL               11 /2006
 (73 ) Assignee : PerdiemCo LLC, Marshall, TX (US)                                                             WO                              1990013186                  11 / 1990
                                                                                                                                                                   (Continued )
 ( * ) Notice :     Subject to any disclaimer, the term of this
                    patent is extended or adjusted under 35                                                                                             OTHER PUBLICATIONS
                    U .S . C . 154(b ) by 0 days.
                     This patent is subject to a terminal dis                                                  Geotab , Inc ., Geotab User Guide Checkmate by Geotab : Fleet
                    claimer .                                                                                  Recording, Reporting and Analysis Solution, (Dec. 21, 2005).
 ( 21) Appl. No.: 16 /238, 810                                                                                                          (Continued )
 (22 ) Filed : Jan . 3, 2019                                                                                   Primary Examiner — Congvan Tran
                     Prior Publication Data                                                                    (74 ) Attorney, Agent, or Firm - Robert S . Babayi; Vector
 (65 )                                                                                                         IP Law Group
       US 2019 /0174316 A1 Jun . 6 , 2019                                                                      (57)                    ABSTRACT
               Related U .S . Application Data                                                                 An improved system and method for defining an event based
 (60 ) Continuation of application No . 16 / 198 ,330 , filed on                                               upon an object location and a user-defined zone and man
       Nov. 21, 2018 , now Pat. No . 10 ,277 ,689 , which is a                                                 aging the conveyance of object location event information
                                                                                                               among computing devices where object location events are
                          ( Continued )                                                                        defined in terms of a condition based upon a relationship
 (51) H04W
      Int. CI.12/08                                                                                            between user -defined zone information and object location
                                                                                                               information . One or more location information sources are
                                (2009. 01)
        H04M 1 /725             ( 2006 .01)                                                                    associated with an object to provide the object location
                          ( Continued )                                                                        information . One or more user- defined zones are defined on
                                                                                                               a map and one or more object location events are defined .
 (52 ) U .S. CI.                                                                                               The occurrence of an object location event produces object
        CPC ........ H04W 12 /08 (2013.01); G06F 16/9535                                                       location event information that is conveyed to users based
                        (2019 .01) ; H04L 63/ 083 ( 2013 .01);                                                 on user identification codes. Accessibility to object location
                        (Continued )                                                                           information , zone information , and object location event
 (58 ) Field of Classification Search                                                                          information is based upon an object location information
       CPC ... H04W 12/08 ; H04W 4 /029; GO6F 16 /9535 ;                                                       access code , a zone information access code , and an object
                          HO4L 63 / 083 ; HO4L 63/ 101 ; H04L                                                  location event information access code, respectively.
                                                       63/ 105
                          (Continued )                                                                                       20 Claims, 21 Drawing Sheets

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                                                   FIG . 1




                                                                                                                          Exhibit D
                                                                                                                      Page 11 of 45
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                                                                                                                                                                        4200
          Driving Directions: Lo bare - From Here
                                                                                                       . .. .       .
                                 : : :: : : : : : : :: : : :       : : :: :                                                  .       .
                           N   . . . . . . . . . . . . . . . . .                                                :       :
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                                                                                                 FIG . 2




                                                                                                                                                                                                          Exhibit D
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           nesociateUserIdentificat I
                       WAT VAN



    302    Associate User Identification Codes with Computing Devices
                                                                                    300
    304            Associate Location Information Source with an Object

                                 Define a User-defined Zone         viRNILLADOIDO




            Define an Object Location EventRelating Object Location
                  Information to User -define Zone Information
                                                .



                                                .




    310
            Riis




               Determine an Occurrence of the Object Location Event

    312      Convey Object Location Event Information to Computing
                      Devices Based Upon User Identification Codes




                                             FIG . 3




                                                                                         Exhibit D
                                                                                     Page 13 of 45
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    302 Associate User Identification Codes with Computing Devices
    304        Associate Location Information Source with an Object          that

    402      Associate Object Location Information Access Code with
                Object Location Information Relating to the Object

     404    Convey Object Location Information to Computing Devices
            Based Upon Object Location Information Access Code and
                           User Identification Codes       AYA




     3064                  Define a User-defined Zone

             Define an Object Location Event Relating ObjectLocation
                   Information to User-defined Zone Information

     310       Determine an Occurrence of the Object Location Event
     312      Convey Object Location Event Information to Computing
                  Devices Based Upon User Identification Codes         SAX




                                       FIG . 4




                                                                                        Exhibit D
                                                                                    Page 14 of 45
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    302    Associate User Identification Codes with Computing Devices


    304 AssociateLocationInformation Source with an Object ]
                                                                           effe
              Associate Location Information Source with an Object


     306             MAS
                               Define a User-defined Zone

    502      Associate a User-defined Zone Information Access Code
               with Corresponding User-defined Zone Information

    504        Convey User-defined Zone Information to Computing
              Devices Based Upon a User-defined Zone Information
                   Access Code and User Identification Codes

     308     Define an Object Location EventRelating Object Location
                   Information to User-defined Zone Information
                             SKRYWYWAWALASS



     310      Determine an Occurrence of the Object Location Event

     312      Convey Object Location Event Information to Computing
                   Devices Based Upon User Identification Codes


                                              FIG . 5




                                                                                      Exhibit D
                                                                                  Page 15 of 45
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     302   Associate User Identification Codes with Computing Devices
               Associate Location Information Source with an Object                                                    €200
     306                            Define a User-defined Zone
                                                                          ALAA




     308    Define an Object Location EventRelating Object Location
                         Information to User-defined Zone Information                                          XORAL
     602
                                                                                                          G

                                                                                                               Pop
            Associate Object Location Event Information Access Code
              with Object Location Event Information Relating to the TUOCOCO
                                       Object Location Event
                                         ????????? ??????        Y    O   R. KUONDOA
                                                                              .        . 333344 A     ttesta




             SECCALAUAGUES


              Determine an Occurrence of the Object Location Event

     604     Convey Object Location Event Information to Computing
             Devices Based Upon Object Location Event Information
                             Access Code and User Identification Codes




                                                       FIG . 6




                                                                                                                              Exhibit D
                                                                                                                          Page 16 of 45
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     302               Accorinta
                       Associate User Identification Codes with Computing Devices

     304 Associate lo     Associate Location Information Source with an Object                                               4200
                                                                                                                              1.
                                                                                                                                   4




                  VE
                                                                      ooOOOO KOKOOO .
     402                Associate Object Location Information Access Code with
                           ObjectLocation Information Relating to the Object



           GO
                       Convey Object Location Information to Computing Devices
                       Based Upon Object Location Information Access Code and
                                                 User identification Codes
                                                                                                                        go
     306
                                                Define a User-defined Zone
                                                YYYYYYAAAA




     502                Associate a User- defined Zone Information Access Code
                           with Corresponding User-defined Zone Information
                        KIERRONCHONGKONSOOLIN


                                                                                          MAAX



     504                  Convey User -defined Zone Information to Computing
                         Devices Based Upon a User- defined Zone Information
                              Access Code and User Identification Codes


     308 | Definecon
     308                Define an Object Location Event Relating ObjectLocation
                                   Information to User- defined Zone Information

     602               Associate Object Location Event Information Access Code
           AGRO          with Object Location Event Information Relating to the
                                                    Object Location Event   C
                                                    Y        ETERLY              ARRERA




                         Determine an Occurrence of the Object Location Event                    Va   R OOROOOOOOOOOO




    604
                                                                                VOUGE



                        Convey ObjectLocation Event Information to Computing                                                 FIG . 7
                        Devices Based Upon Object Location Event Information
                                   Access Code and User identification Codes




                                                                                                                                           Exhibit D
                                                                                                                                       Page 17 of 45
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           Application Launch Screen
                        brograms                w         2
                                                    XXX
                                                          .



                                                                      800
                                Messaging      Explorer

                    PAQ Backup MemMaid Microsoft
                                                                    802




                                 FIG . 8
                       Main Screen
                        Peremco              7111336
                                                                      900
                                                                     Z%


                                                              W




                                                              ise




                           Contact: info @ dden .com
                                 FIG . 9

                                                                                         Exhibit D
                                                                                     Page 18 of 45
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         atent      Aug. 27 , 2019                   Sheet 9 of 21         US 10 , 397, 789 B2


                 Configuration Screen
                            Art                  w         123:03
                                                                            1000
                            2222
                                OVOSTI                       XXX


                            12565551212


                            www .Perbiemco .com

                            L                   Log on Close

                                         FIG . 10

                                GPS Screen
                            Pertemco GPS                      4 . 04
                                                                           1100


                       BE          0
                                         HOOP
                                                                       "




                                         FIG . 11

                                                                                             Exhibit D
                                                                                         Page 19 of 45
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                  Tracking Setup Screen
                       Pertemu OPS
                                                                                             1200
                        Poting Rate (100 Bytes ea.)
                        O 10 sec                            Packers Sent


                            OFF                                     Tracking OFF .
                       SGPGCA 203206.056 3442,687

            1202



                                      FIG . 12a

            Log File Selection Screen
                          risinininbalansiniai
                                                                        AAA.




                       Perbiemco GPSG                                          9 27
                          weiterenurile iniciaisimesel korsoutlet
                                                                                             1204


                                                                                127 6 : 23
                                                                               430 6 :28




                                                                         ??????????



                                    FIG . 12b

                                                                                                                 Exhibit D
                                                                                                             Page 20 of 45
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                         Map Screen
                          TRACKING                  w     TOWWWWW * 11:11
                       MAP | LORD TRACK OFF MAIN MENU                                  1300


                                      ..
                                                .
                                                        201   *




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                                       tra
                                           **
                                  *


                                  .




           1302
                      |MAP LATA 2018 | 2:3 2 |ABOUT |aos:|
                                      FIG . 13a
                         Data Screen
                          TRACKLIS                                 * 243
                            Det
                            Curent KEY:
                            2222
                                                                             POURA     1304
                                                                             AN
                            Zoo


                        E            MBLE
                        102565551212 @ myphoneco . com                       .




                                                                             WW.UT

                                                                             W




                      MAP DATA ZONE SIZE | ABOUT | cose ]
                              FIG . 13b


                                                                                                       Exhibit D
                                                                                                   Page 21 of 45
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                           Zone Screen
                           TRACKING                            1:25
                                           See more
                                                                            1306
                                              Share ? Hack


                                             Govern s
                           VIE
                   eN361




                   147|DA7A | ZONE| SZE|ABOUT | CLOSE
                                 FIG . 13c
                           Size Screen
                       Moto Central Bit
                                                                      set
                                                                            1308
                      OX1. (1 mi )
                       O X2 (2 mi)
                      Ox3 (4 mi)
                      OX4 (10 mi)
                      O X5 (25 mi)


                                      WS


                   *P | D474 zone size ABCKUT | 2018 ]  rece




                                 FIG . 13d

                                                                                              Exhibit D
                                                                                          Page 22 of 45
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                     About Screen
                      TRALIHA                      25:17   W




                     las no Rio                                1310

                     Al personal information used

                      personal informaton wis be



                      Copyright 2005 - 2006



                   14PT CATAT ZONE size sou ?aoset
                             FIG . 13e




                                                                                   Exhibit D
                                                                               Page 23 of 45
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                   Group Screen  AXA



                       contact
                      Kontact                W Y 21:44
                                       w



                    Bo 125 WH129095 KRIG                           1400
                    Bob ,12564799954 ,0008 W09
                                               Boon
                                            one             2




                                           12564798954mes




                    Bob , 12564799954, 0006




                                FIG . 14
                  Contact Screen
                      THE

                   ?????????????????????
                    HyattHotel 5 Embarcadero cal                42'500
                    Add List Remove


                        LISE                  dorean

                            ste 3. Widon in Mes
                   HyattHotel, 5 Embarcadero Cent




                                 FIG . 15


                                                                                     Exhibit D
                                                                                 Page 24 of 45
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         atent      Aug . 27, 2019        Sheet 15 of 21      US 10 ,397 , 789 B2

                   Camera Screen
                     Camera                    4.23 X
                  Nace 325863705202222
                                                           1600




                    Files Text Send close

                           FIG . 16
              Big Buttons Screen
                    Irmaksettes          7 € 4:12
                                                           1700
                     GPS OFF              SEND

                     LOG OFF

                                         CLOSE



                              FIG . 17

                                                                                Exhibit D
                                                                            Page 25 of 45
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               Map ViewerWeb Page
                                                                       1800




                                                      immune



                                            ** ** *

          MEMBER Login



          MEMBER Logout

                              FIG . 18




                                                                                  Exhibit D
                                                                              Page 26 of 45
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              Contact Viewer Web Page
        a Perbiemco Map View Microsoft Internet Explorer
                                                                                                                                                                                                                                                        AIT
                                                                                                                                                                                                                                                              1900
                               . .    .   . . .   . . ..          . .              . . ..  . ...
                                                   a .   .   ..         .                          .      .    . . .            . . . .. .   . . . . .    .   .   . . . .. . . . . . . . . . . .
                                                                            . ..      . . . . .        .. .            .   ..    .. . .        . . .. .                                            . . .   .. . .   . . . . . . ..   .   .   ..   . .

                   angular sos page

               diem com




        Please enter Contact D and Access Code
         Contacto
                             Send now


                                                    FIG . 19




                                                                                                                                                                                                                                                                   Exhibit D
                                                                                                                                                                                                                                                               Page 27 of 45
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             GPS Tracking and Zone Data 2000
               have




                            Enter      size
                             Status:

                                                                           .




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       *
       E




                                                                           wa




     Way
       Mi




                                    FIG . 20




                                                                                   Exhibit D
                                                                               Page 28 of 45
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                             Zone Creation                          2100
                                                                     2100




        Zonel O Zonel O Prokt Track ON Click
                                                 Map   Satelite Hybrid
       920                  DO


                                FIG .21




                                                                                Exhibit D
                                                                            Page 29 of 45
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                   Zone-based Logging                           2200




                                Enter) size
       BB

                                                            Huntsville

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         *
         #
         72




                                .




                                     2204                2202


                              FIG . 22




                                                                             Exhibit D
                                                                         Page 30 of 45
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           Picture Associated with Location 2300      7




      BACK                            KULELE




                             Enter)            2302

                                                      Wap
           .




                                                            Satelits    orig
       .
       !




       .




                                                              @
                                                              @

                                                            P
                              FIG . 23




                                                                                   Exhibit D
                                                                               Page 31 of 45
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                                                    US 10 ,397 ,789 B2
             METHOD FOR CONTROLLING                                  An event is also defined in terms of a condition related to a
       CONVEYANCE OF EVENT INFORMATION                              relationship between an object location and the zone. The
       ABOUT CARRIERS OF MOBILE DEVICES                             condition can relate to entry by the object into the zone, exit
        BASED ON LOCATION INFORMATION                               by the object from the zone, or proximity of the object to the
              RECEIVED FROM LOCATION                              5 zone Upon meeting the condition , information regarding the
        INFORMATION SOURCES USED BY THE                             event is conveyed to the at least one of the one or more users.
                    MOBILE DEVICES                                   The one or more users can access at least one of the location
                                                                     information , information relating to the zone or conveyed
                FIELD OF THE INVENTION                         information regarding the event using one or more access
                                                            10 control codes. The access control codes can be configured to
     The present invention relates generally to a system and require multiple levels of access control.
  method for defining an event based on the relationship of an          Thus, the present invention relates to a system and method
  object location and a user - defined zone and managing the         for defining events that are correlated with the location of
  conveyance of information related to such object location one or more objects to one or more zones. Hereinafter, such
  event among computing devices. More particularly , the 15 events are referred to as object location events . The object
  present invention relates to defining an object location event location events can be defined at an application level or a
  based on the location of an object relative to a user-defined user level. The system and method of the invention also
  zone and managing the conveyance of object location event      conveys information relating to the object location event to
  information among computing devices based on user iden         one or more computing devices, which , in an exemplary
  tification codes associated with the computing devices. 20 embodiment of the invention, are associated with corre
                                                                 sponding identification codes of one or more users. For
            BACKGROUND OF THE INVENTION                          example , association of a user identification code with a
                                                                    computing device can be an embedded association ( e. g .,
     Various sources of information are available for deter-        hard -wired ) or it can be based on a user log -in at the
  mining the location of an object. Such location information 25 computing device . In one embodiment, the object location
  sources include Global Positioning System (GPS ) receivers ,       event relates to information about a location of an object and
  radars, radio frequency identification (RFID ) tags, and vari     information about a zone that is defined by a user. The
   ety of other technologies that can be used to determine          information about the location can be derived from a loca
  location information pertaining to an object, which might be      tion information source that is associated with the object .
  moving or stationary . Such location information has been 30 Under this embodiment, the object location event occurs by
  used to track vehicles , packages, people , etc. and to enable satisfaction of a defined relationship or condition between
  a variety of location aware applications including location the object location information and user-defined zone infor
  aware toll systems, material handling and supply chain mation . Once the condition is satisfied, information corre
  management systems, and the like. Thus far, such location sponding to the occurrence of the object location event is
  aware applications have mostly involved computing devices 35 conveyed to a computing device . In one embodiment of the
  specifically programmed to provide location -aware func-           invention , the information is conveyed to the computing
  tionality in a usefulbut predetermined manner. For example ,       device in accordance with a corresponding user identifica
  scanners have been used as sources of information to convey        tion code.
  the locations of shipping containers as they progress through        In one exemplary embodiment, a user can associate a
  various stages en route to a destination , where the specific 40 source of location information with an object and define a
  location of a given shipping container on a shipping dock or zone. Under this arrangement, any other authorized user that
  in a cargo hold can be accessed at any given time                has access to information about location of an object and a
     Technological advancements in computing devices and user- defined zone can also define an object location event for
  information networks, in particular wireless networks , have that zone and receive information about occurrence of the
  enabled users of a variety of computing devices such as 45 event. Under another arrangement, only the user who defines
  smart phones, personal digital assistants (PDAs), laptop         a user -defined zone can define an object location event for
  computers , etc . to access and utilize information in more and that zone.
  more locations. For example , such advances now allow               In a further embodiment, an access code is associated with
  users to wirelessly check their email or to surf the Internet information about the location of an object. Under this
  from anywhere that is covered by an appropriate data 50 embodiment, the object location information is conveyed to
  service . Some computing devices have become equipped         the computing device based upon the user identification
  with technologies that integrate various sources that provide code and an access code associated with the location infor
  information about the location of the devices. For example , mation . Under another arrangement, only the user that
  known mobile devices have been equipped with GPS receiv -      associates a source of location information with an object
  ers , which enable the users to know where they are located 55 can associate the access code with the object location
  at any given time.                                             information as determined by the source of location infor
    As sources that offer location information become more          mation .
  useful in computing devices and within information net -             In yet another embodiment, an access code is associated
  works, there is a need for a system and method that               with the user -defined zone information . Under this embodi
  correlates events with location of objects and conveys 60 ment, the user -defined zone information is conveyed to at
  information about such events to computing devices .      least one of the computing devices based upon a correspond
                                                            ing user identification code and an access code for the
              SUMMARY OF THE INVENTION                      user -defined zone information . Under another arrangement,
                                                                    only the user that defines a user -defined zone can associate
    Briefly , the present invention relates to conveying infor - 65 the access code with the user-defined zone information.
  mation relating to an object to one or more users . The              In still another embodiment, an access code is associated
  invention requires defining a zone by the one or more users .     with information about an object location event. Under this



                                                                                                                               Exhibit D
                                                                                                                           Page 32 of 45
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                                                    US 10 ,397 ,789 B2
  embodiment, the information about the object location event          FIG . 11 illustrates an exemplary GPS Screen of the
  is conveyed to at least one of the computing devices based         Location and Tracking software used to manage a GPS
  upon a corresponding user identification code and an access        receiver that is associated with a user ' s PDA via a Bluetooth
  code for the object location event information . Under connection ;
  another arrangement, only the user that defines the object 5 FIG . 12a illustrates an exemplary Tracking Setup Screen
  location event can associate the access code with the object of the Location and Tracking software used to control the
  location event information .                                       rate at which GPS data is polled ;
                                                                        FIG . 12b illustrates an exemplary Log File Selection
        BRIEF DESCRIPTION OF THE DRAWINGS                            Screen of the Location and Tracking software used to select
                                                                  10 a log file for storing GPS information ;
     The present invention is described with reference to the         FIG . 13a illustrates an exemplary Map Screen of the
  accompanying drawings. In the drawings, like reference Location             and Tracking software used to display a map
  numbers indicate identical or functionally similar elements . received     from a map server ;
                                                                     FIG . 13b illustrates an exemplary Data Screen of the
  Additionally, the left -most digit (s ) of a reference number 15 Location
  identifies the drawing in which the reference number first of trackingandandTracking     software used to manage conveyance
                                                                                    zone information to specific users based on
  appears .
     FIG . 1 illustrates an exemplary information - sharing envi access codes ;
                                                                   FIG . 13c illustrates an exemplary Zone Screen of the
  ronment including computing devices having wired or wire       Location and Tracking software used to define user - defined
  less connectivity to the Internet and a map server, and 20 zones .
  various objects for which location information sources pro       FIG . 13d illustrates an exemplary Size Screen of the
  vide object location information ;                             Location and Tracking software used to manage the size and
     FIG . 2 illustrates an exemplary map retrieved from the     other characteristics of a displayed man :
  map server of FIG . 1 via the Internet that includes an icon     FIG . 13e illustrates an exemplary About Screen of the
  indicating a location of a vehicle relative to three user- 25 Location and Tracking software used to provide a notice
  defined zones .                                               concerning Tracking Privacy Issues , software version infor
     FIG . 3 illustrates a first embodiment of a method of the mation , and copyright information ;
  invention where object location event information is con -           FIG . 14 illustrates an exemplary Group Screen of the
  veyed to computing devices based upon user identification          Location and Tracking software used to manage information
  codes ;                                                         30 corresponding to groups of contacts ;
     FIG . 4 illustrates a second embodiment of a method of the    FIG . 15 illustrates an exemplary Contact Screen of the
  invention where obiect location information is conveved to    Location and Tracking software used to manage information
  computing devices based upon an object location informa       corresponding to contacts ;
                                                                  FIG . 16 illustrates an exemplary Camera Screen of the
  tion access code and user identification codes, and object 35 Location
  location event information is conveyed to computing                     and Tracking software used to manage pictures to
  devices based upon user identification codes;                 be associated with contact location information ;
     FIG . 5 illustrates a third embodiment of a method of the theFIGLocation
                                                                       . 17 illustrates an exemplary Big Buttons Screen of
                                                                               and Tracking software used to provide easy
  invention where user- defined zone information is conveyed         access to key application commands while walking or
  to computing devices based upon a user-defined zone infor - 40 driving
  mation access code and user identification codes, and object      FIG . 18 illustrates an exemplary Map Viewer Web Page
  location event information is conveyed to computing used for displaying maps and other information conveyed by
  devices based upon user identification codes;                  the Location and Tracking software ;
     FIG . 6 illustrates a fourth embodiment of a method of the    FIG . 19 illustrates an exemplary Contact Viewer Web
  invention where object location event information is con - 45 Page used for displaying contact information conveyed by
  veyed to computing devices based upon an object location       the Location and Tracking software ;
  event information access code and user identification codes ;        FIG . 20 illustrates an exemplary web page-based display
    FIG . 7 illustrates a fifth embodiment of a method of the        of a map overlaid with GPS tracking and zone information
  invention where object location information are conveyed to conveyed by the Location and Tracking software ;
  computing devices based upon an object location informa - 50 FIG . 21 illustrates an exemplary web page for creation of
  tion access code and user identification codes, user-defined a zone used by the Location and Tracking software;
  zone information is conveyed to computing devices based            FIG . 22 illustrates an exemplary map displayed on a web
  upon a user-defined zone information access code and user page depicting logging of contact location information while
  identification codes , and object location event information is a contact is within a zone and logging of contact location
  conveyed to computing devices based upon an object loca     255 information when a contact enters or leaves a zone ; and
  tion event information access code and user identification page   FIG . 23 illustrates an exemplary map displayed on a web
  codes;                                                                 depicting a picture associated with a location of a
     FIG . 8 illustrates an exemplary PDA Application Launch contact .
  Screen used to begin execution of a Location and Tracking co                  DETAILED DESCRIPTION OF THE
  software as implemented according to the present invention ;                               INVENTION
     FIG . 9 illustrates an exemplary Main Screen of the
  Location and Tracking software from which additional               The present invention will now be described more fully in
  screens are accessed ;                                          detail with reference to the accompanying drawings, in
     FIG . 10 illustrates an exemplary Configuration Screen of 65 which the preferred embodiments of the invention are
  the Location and Tracking software used to manage infor         shown . This invention should not, however, be construed as
  mation corresponding to the user of the PDA ;                   limited to the embodiments set forth herein ; rather, they are



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  provided so that this disclosure will be thorough and com -            administered such that anyone having access to the Internet
  plete and will fully convey the scope of the invention to     can purchase the service and be an authorized user. A
  those skilled in the art. Like numbers refer to like elements  purchaser of the service can set up a company -wide infor
  throughout.                                                   mation -sharing environment within the larger world -wide
     The present invention provides a system and method for 5 information -sharing environment that includes company
  defining an event that relates to a location of an object and  employees , affiliates, Board members , guests, etc . A division
  managing the conveyance of related information among within a company may set up its own information -sharing
  computing devices associated with corresponding user iden -           environment, and so on . A family can set up its own
  tification codes. In accordance with the present invention , an        information -sharing environment and an individual may set
  information -sharing environment consists of a computing 10 up his or her own information -sharing environment . As
  network including a map server and computing devices.                  such , each information -sharing environment can be admin
  Objects associated with sources of location information               istered so as to manage conveyance of information among
  provide object location information comprising one or more            computing devices based on user identification codes . Man
  coordinates . In an exemplary embodiment, the coordinates             agement of users , groups, domains , and publicly available
  correspond to one or more determined locations of the 15 object location information sources is described in greater
  objects within an established coordinate system . In the              detail below .
  system and method of the present invention , an object can              Referring to FIG . 1 , information - sharing environment 100
  comprise any device , thing, person or entity that can be              includes computing network 102 having wired and wireless
  located or tracked . A user of a computing device can retrieve        network links 104 , 106 and connectivity to the Internet 108
  a map , for example , from a map server and define a 20 that provides access to a map server 110 and map informa
  user- defined zone on themap . According to one aspect of the         tion 112. Also shown are objects associated with sources that
  invention , an object location event is defined based on a             provide object location information . Location information
  relationship between one ormore object locations and one or            sources are shown including Global Positioning System
  more user - defined zones , where the occurrence of the object         (GPS ) satellites 114a and GPS receivers 114b . Examples of
  location event is determined when a condition associated 25 various types of computing devices are shown interfacing
  with the relationship is satisfied . Thus , an occurrence of the      with the computing network 102 including a PDA 116a ,
  object location event is determined based on object location          PDA having a GPS receiver 116b , a wireless smart phone
  information and user - defined zone information . In other            118a, a wireless smart phone having a GPS receiver 118b , a
  words, an object location event is determined based on the            laptop computer 120a , a laptop computer having a GPS
  location of an object relative to a user -defined zone. More 30 receiver 120b , a personal computer 122a , a personal com
  generally , an object location event may be determined based    puter having a GPS receiver 122b , and a digital television
  on the location (s ) of one or more objects relative to one or  124 . Typically , one or more of the computing devices could
  more user- defined zones . Upon occurrence of the object be used as a control station . FIG . 1 also illustrates various
  location event, object location event information is con - examples of objects ( e. g., devices, things , people , vehicles ,
  veyed to at least one computing device based upon a 35 animals, etc .) that can be associated with location informa
  corresponding user identification code (s ) associated with the tion sources enabling object location information to be
  computing device (s ).                                                conveyed to computing devices . Examples of such objects
     The present invention can be implemented in a variety of           depicted in FIG . 1 include a fireman 126a , semi truck 126b ,
  information -sharing environments. The sharing of informa-             crate 126c, car 126d , cow 126e , woman 126f, soldier 126g,
  tion may be managed among a small number of users such 40 child 126h , dog 126i, and a building 126j. Generally , any
  as a family or group of friends, or among a very large                 object can be associated with a location information source
  number of users such as among employees of very large                  in accordance with the present invention including the
  business, or among a worldwide user base such as a might               computing devices themselves. Such objects may be out
  be provided via an Internet service . Furthermore, informa- doors or indoors and may be included within another object
  tion - sharing environments may involve information - sharing 45 such as, for example , a crate 126c within a semitruck 126b .
  environments within information -sharing environments .                Such objects may be mobile or fixed . At any given time,
  That is, one or more smaller information - sharing environ -          mobile objects may be moving or stationary . An objectmay
  ments may overlap or coexist independent of each other                located in any place , or be any thing . Examples of a place ,
  within one or more larger information - sharing environ -              or thing, in accordance with the invention include a restau
  ments                                                              50 rant, gas station , destination , airport, hospital, first aid sta
     In one embodiment, one or more administrators may be               tion , hazardous location , vehicle repair shop , shopping mall ,
  given privileges to configure the information -sharing envi-          museum , park , residence , business, train station , bus station ,
  ronment . Such configuration could include specifying autho -         post office , bank , police station , first station , department
  rized users of the environment and their access privileges, store , or storage bin .
  etc . Such configuration can also define groups of users as 55 Although FIG . 1 depicts a wireless network tower to
  part of an established organizational structure associated            represent wireless connectivity, any of various well known
  with the information -sharing environment. Pre - defined              forms of networking technologies such as WI-FI, Wireless
  zones comprising domains can be configured along with                 USB , cellular, Bluetooth , optical wireless , etc . can be used
  events that define relationships between object locations              alone or in combination to provide the wired and /or wireless
  relative to such domains . Moreover, sources of publicly 60 connectivity among the computing devices . Furthermore,
  available object location information , such as weather track -        any of various other location information sources can be
  ing systems; can also be configured for use with the system           used in place of or in combination with GPS to provide
  and method of the present invention . Because smaller infor-          object location information . Alternative location informa
  mation -sharing environments can exist within larger infor -          tion sources include cellular network based wide area loca
  mation - sharing information environments , various levels of 65 tion systems, infrared -based location systems, ultrasound
  administrator privileges can exist. For example , an Internet         based location systems, video surveillance location systems,
  service based on the present invention can be provided and            RF signal-based location systems such as WLAN -based


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  location systems, ultra wideband location systems, and near        code is associated with the computing device . The user
  field electromagnetic ranging location systems. GPS sys -          identification code may also be associated with one ormore
  tems may be augmented using space based augmentation               groups having corresponding group identification codes .
  systems (SBAS ) and/ or local area augmentation systems            The user identification code and group identification code ( s )
  (LAAS ), radar -based information sources, and a data file . 5 are compared to those included in the access code whereby
  GPS systems can be outdoor GPS sources or indoor GPS           a match would indicate the user is authorized to receive the
  sources . Alternatives to GPS also include GLONASS and             information . As such , the information is conveyed to those
  Galileo . Generally , any form of location information system      computing devices that are associated with the users having
  can be used that can provide a coordinate of an object             access to the information as specified by the access code .
  allowing an icon indicating the object location to be depicted 10 Under another arrangement , an access code is assigned to
  on a map .                                                        information in the form of a user -defined access code (i.e .,
     In accordance with the present invention , the users of the     a password ) that a given user must have knowledge of in
  computing devices each have user identification codes that         order to be granted access to the information . With this
  can be associated with the computing devices in order to           approach , the user associating the access code with infor
  manage the conveyance of information to the computing 15 mation defines the user-defined access code and then con
  devices based upon the identity of the user and information        veys the user -defined access code to other trusted users to
  access privileges. Such user identification codes may be           which the user desires to have access to the information .
  managed by a control station or may be established based on        Those trusted users must enter the access code into their
  user unique user information . Such codes would typically      computing devices in order to be granted access to the
  include an identifier ( e .g ., a user account name or user 20 information .
  number) and can be associated with one or more groups, and           Under still another arrangement, an access code specifies
  one or more information access privilege classifications, etc .    the individual users or groups having access to the infor
  For example , a given user may be included in a group              mation to which the access code is associated provided a
  indicating members of a family , a company, a club , or an     given user knows the password . As such , the access code
  association . Similarly , employees of a company may belong 25 may specify one or more users and/ or one or more groups
  to one or more defined groups within the company ( e . g ., that can enter the appropriate password in order to access the
  Management, Engineering, Accounting, etc .). Membership        information . With this approach , there are two conditions
  within a group may indicate the user can have access to        thatmust bemet to gain access , being included on the access
  confidential information such as company proprietary infor -       list and having knowledge of the password allowing access
  mation or classified information such as the coordinates of 30 to information to be managed by changing the access list
  military assets on a battlefield . Access to confidential infor-   and/ or changing the password .
  mation may also be based on an access privilege classifica -         Under yet another arrangement , an access code may
   tion , such as a security clearance level. In accordance with     include a clearance classification code such as Proprietary,
  the invention , a user 's access privileges can change by          Confidential, Secret, Top Secret, etc. These access codes
  entering or leaving a domain , for example , the premises of 35 may also specify individual users or groups and may be used
  a shopping mall , a particular store within a shopping mall ,      with passwords. For example , employees of a company
  a museum , a restaurant, an airport, etc . The use of domains      having at least a Secret clearance classification that know the
  in accordance with the present invention is described in           password are provided access to certain information . Gen
  greater detail below . Furthermore , user identification codes     erally, many different variations of access code approaches
  are typically associated with other user information such as 40 can be used to practice the present invention .
  the user name, title , address information , email address ,         FIG . 2 illustrates an exemplary map 200 retrieved via the
  phone numbers , etc . As such , user identification codes can      Internet from a map service provider, such as YAHOO !,
  be associated with computing devices and used to manage            displayed on a PDA or other computing device . Any map
  the conveyance of information among the computing                  available from any of various map providers via the Internet
  devices . Association of a given user identification code with 45 can be used in accordance with the present invention .
  a given computing device may be via a user login process           Referring to FIG . 2 , map 200 depicts an area including a
  whereby a user enters a user account name and password .           portion of Huntsville , Ala . alongside part of Redstone Arse
  Certain computing devices ( e . g ., a PDA or smart phone ) may    nal , Alabama. Shown on the map is an icon 202 that
  allow a user identification code to be embedded or pro - indicates the location of a car equipped or somehow asso
  grammed into a computing device 's memory such that any 50 ciated with a source of location information , such as GPS .
  user of the computing device is considered to be the user  The location information source determines the location of
  owning the device .                                                the car and conveys the object location information to the
     In accordance with the present invention , access codes         computing environment to which the computing device
  can be associated with information to manage the convey         displaying the map is interfaced . Most location information
  ance of the information to computing devices. Specifically , 55 sources include communications capabilities enabling them
  an object location information access code can be associated to convey object location information . Also shown in FIG .
  with object location information . A user-defined zone infor       2 are three user- defined zones 204 , 206 , and 208 . Such
  mation access code can be associated with user-defined zone        user -defined zones can be defined using various graphical
   information and /or an object location event information          techniques such as selecting a point and dragging to another
  access code can be associated with object location event 60 point causing a rectangular shaped zone (like 208 ) to be
  information . These access codes can be used in various     defined . Alternatively , a point can be selected indicating the
  ways . In one arrangement, an access code specifies the     center of a circular zone and a dragging action made to
  individual users and / or groups of users having access to the     define a range of the circular zone (like 206 ). Various other
  information to which the access code is associated . Such an       common drawing techniques such as free form drawing can
  access code would typically include specific user identifi - 65 be used to define a zone not having a basic shape ( like 204 ).
  cation codes and/ or group codes. For example , by a user       Furthermore , non drawing techniques can be employed to
  logging into a computing device, a given user identification define a user -defined zone including use of coordinates


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  stored in a database . For example, the perimeter coordinates           when the daughter has safely arrived at the three places the
  of a surveyed property that are stored in a database could be           daughter is to go that day. Furthermore , when the PDA
  automatically used to define a user - defined zone in accor             beeps, the mother knows the daughter is in transit and can
  dance with the invention .                                               view the displayed map on the PDA to watch the icon
     In accordance with the present invention , one or more 5 indicating the location of the car as it travels between the
  object location events can be defined relating a given                   user -defined zones or to home. The emails received based on
  user - defined zone to the location of a given object or objects.        the defined events provide a record of the daughter ' s enter
  Occurrence of an object location event can result in gener -             ing and leaving the three user - defined zones and can be used
  ating relevant information (i.e ., object location event infor -         to indicate characteristics ofmovement including the speed
  mation ) or performing a function ( i. e ., object location event 10 of a vehicle .
  function ). The object location event function can include                 FIG . 3 illustrates a first embodiment of a method of the
  generating a time/ date stamp , send an email , place a call ,           invention where object location event information is con
  sound an alarm , etc . Thus, an object location event in         veyed to computing devices based upon user identification
  accordance with the invention can require the performance        codes . Referring to FIG . 3 , a first embodiment of a method
  or control of a function based on an object location relative 15 300 of the invention consists of six steps 302-312 . The first
  to a user -defined zone . An object location event can , for            s tep 302 is to associate user identification codes with com
  example , be defined to occur when a specific object or any             puting devices. The association can be an embedded asso
  one or more objects enter , leave , or are within a defined              ciation , for example , programming the user identification
  proximity of a user -defined zone . An object location event             code in the memory of the computing device , or it can be
  may also be defined to occur periodically as long as an 20 accomplished via a log - in process at the computing devices
  object is outside a user -defined zone or inside a user -defined using the user identification codes . The second step 304 is to
  zone. Alternatively , an object location event may be defined            associate a location information source with an object. Such
  to occur when the location of an object is determined to be             association may involve equipping or attaching the object
  within a given proximity of a user - defined zone , for                 with or to the source of location information . A third step
  example , within 500 feet of a user -defined zone correspond - 25 306 is to define a zone . The zone can be defined by a user
  ing to the grounds of a school, a shopping mall , a building ,    at any time. A fourth step 308 defines an object location
  an army base , etc . An event may also be defined to occur              event in termsof a relationship between information relating
  when one ormore objects or specific objects have entered or             to the object location and user -defined zone. The fifth step
  exited one or user -defined zones or specific user -defined             310 is to determine an occurrence of the object location
  zones.                                                                30 event for example by detecting entry into , exit from or
     Referring again to FIG . 2 , an example scenario is                  proximity with the user-defined zone . A sixth step 312 is to
  described relating the location of the vehicle 202 to the three          convey object location event information to computing
  user -defined zones 204 , 206 , and 208 . The exemplary sce -           devices based upon the user identification codes , for
  nario involves a mother desiring to track the location of a              example , by sending an e -mail . The step 312 can also
  teenage daughter while she drives the vehicle 202 . The 35 involve performing a function such as generating an alarm .
  vehicle 202 is equipped with a location information source                 In accordance with one embodiment of the invention , any
  ( e.g., a GPS receiver ) and is configured to transmit the              user can associate a source of location information with an
  location of the car at some data rate ( e . g ., transmits location      object, define a user - defined zone, and define an object
  every 5 seconds ) when the car is powered on (i. e ., car key           location event. As such , in relation to the example scenario
  is in the on position ). The mother sets an object location 40 of FIG . 2 , steps 304 - 308 ofmethod 300 are used by the user
  information access code such that only the mother , specifi-             (i. e ., a mother ) to associate a GPS device with her daughter' s
  cally , a PDA or other computing device used by themother ,             vehicle and define three user-defined zones corresponding to
  has authorized access to the object location information of             the ballpark parking lot, restaurant, and university library.
  the vehicle 202 . The mother and daughter discuss her                    The user can also define object location events in terms of
  scheduled activity for the day and the corresponding travel 45 conditions that relate to entering into , leaving from or being
  among different places the daughter plans to go . According    in the proximity of the three user-defined zones . As stated
  to the daughter 's schedule , the daughter is to attend a        above , upon the occurrence of the object location events ,
  softball game at a local ballpark , have lunch with friends at information can be conveyed to the mother ' s computing
  a local restaurant, and then go to a library on the campus of device via emails . Occurrence of event can also result in
  a local university to do research for a paper.                50 performance of certain functions, e . g ., causing the mother' s
     After discussing the daughter 's plans for the day, the       PDA to beep .
  mother, using a PDA , retrieves a map and defines the three                In addition to or alternatively to the event information ,
  user -defined zones relating to three locations the daughter is          object location and /or zone information can be conveyed to
  supposed to be at during the day. Specifically, the mother               the computing devices based on user identification codes,
  creates the three user -defined zones 204 , 206 , 208 corre - 55 which comprise a first level of access control. The convey
  sponding to the ballpark parking lot, restaurant, and univer -           ance of any one or combination of the foregoing informa
  sity library , respectively , and defines object location events         tion , i.e ., location , zone and/ or event, can be to the same
  for each user-defined zone . For each of the three user                 users or groups or different users or groups. A second , third ,
  defined zones 204 , 206 , and 208 , the mother defines an                or additional layers of access control can also be applied to
  object location event where the mother will receive an email 60 any one or combination of the location , zone and/ or event
  indicating the occurrence and time of the object location               information using corresponding access codes as further
  events, which correspond to when her daughter 's car enters             described below .
  or leaves any of the three user -defined zones. The mother                Referring to FIG . 4 , another embodiment of a method 400
  defines each of the three ‘leaving user-defined zone ' object            of the invention consists of six steps 302 - 312 of the first
  location events such that when they occur they cause her 65 method 300 along with two additional steps 402 , 404 . As
  PDA to make a sound ( e. g ., beep ). The user- defined zones           with the first method 300 , the first two steps 302, 304 of
  and defined object location events allow the mother to know             method 400 associate user identification codes with com



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   puting devices and associate a source of location informa-      In a further embodiment, steps 402 and 404 of method
  tion with an object. With method 400 , however, the added 400 could also be used with method 500 , whereby the user
   two steps 402 , 404 associate an access code with the object (i.e., the mother ) also associates an object location access
  location information and convey the object location infor      code with the object location information such that both the
  mation to computing devices based upon the access code of 5 mother and father receive the object location information
  the object location information and user identification codes. allowing both parents to see the icon indicating the position
  The final four steps 306 -312 of method 400 are the same as          of the daughter 's car in relation to the three user -defined
  those of method 300, including conveying object location zones. In an alternative embodiment,any user having access
  event information to computing devices based upon user 10 toa the user -defined zone information is enabled to define an
  identification codes.                                     object location event relating object location information to
     Thus, FIG . 4 illustrates an embodiment where the object          the user-defined zone information . Thus, under one arrange
  location information can be accessed by those users that             ment, only the user who defines a user-defined zone can
  have knowledge of the access code of the object location      define an object location event relating to the user - defined
  information . Under this embodiment, the user can give the 15 zone, while under another arrangement, any user ( s ) having
  access code to other trusted users for accessing the location        access to user - defined zone information can define an object
  information . Those having the knowledge of access code for          location event relating to the corresponding user-defined
  the location information may ormay not have access to other          zone .
  information such as the zone or event. Alternatively , users   FIG . 6 illustrates a fourth embodimentof a method of the
  may be granted access to the object location information 20 invention where object location event information is con
  based on the access code without having knowledge of the veyed to computing devices based upon an object location
  access code .                                                        event information access code and user identification codes.
     In accordance with another exemplary embodiment, any              Referring to FIG . 6 , a fourth embodiment of a method 600
  one user can associate a location information source with an         of the invention consists of five steps 302 -310 of the first
  object , define a user -defined zone, and define an object 25 method 300 along with two additional steps 602 , 604 . As
  location event. The user that associates a location informa-         with the first method 300, the first four steps 302 , 304 , 306 ,
  tion source with an object can also associate an access code         308 ofmethod 600 associate user identification codes with
  with the object location information provided by the source .        computing devices, associate a location information source
  As such , in relation to the example scenario of FIG . 2 , the       with an object, define a user -defined zone , and define an
  mother can facilitate the conveyance of the object location 30 object location event in terms of a relationship between
  information to another trusted user, who has knowledge of      object location information and user-defined zone informa
  the access code , such as the father of the daughter. The            tion . With method 600 , however, step five 602 associates an
  mother may or may not allow conveyance of the zone or                object location event information access code with the
  event information to the father. Alternatively, a user may be        object location event information relating to the object
  granted access to the object location information based on 35 location event. After step six 310 determines the occurrence
  the object location information access code without having           of an object location event, step seven 604 conveys object
  knowledge of the access code.                                        location event information to the computing devices based
    Referring to FIG . 5 , a third embodiment of a method 500          upon an access code for the object location event informa
  of the invention consists of six steps 302 - 312 of the first        tion and user identification codes. Thus, by using the object
  method 300 along with two additional steps 502, 504 . As 40 location event information access code , the mother could
  with the firstmethod 300 , the first three steps 302, 304 , 306 enable both parents to receive the object location event
  of method 500 are to associate user identification codes with   information corresponding to the object location events
  computing devices, to associate a location information          defined by the mother. In other words, both parents could
  source with an object, and to define a user -defined zone . receive emails indicating when the daughter entered or
  With method 500 , however, the added two steps 502 , 504 45 exited one of the three user- defined zones . In accordance
  also associate an access code with the user- defined zone            with a preferred embodiment of the invention , the user that
  information . As a result , zone information can be conveyed         defines object location events can also associate access code
  to the computing devices based upon the access code for the          for information that correspond to object location events . By
  user-defined zone information and user identification codes.         also associating object location event information access
  The final three steps 308 - 312 ofmethod 500 are the sameas 50 codes with the defined object location events , the mother can
  those of method 300 , including conveying object location            enable the object location event information to be conveyed
  event information to computing devices based upon user               to another user with knowledge of such access code, such as
  identification codes . The event information under this              the father of the daughter . Thus , with the method 600 in
  embodiment however may or may be conveyed to those relation to the example of FIG . 2 , the father would receive
  users with knowledge of the user-defined zone information 55 the object location event information but may or may not
  access code. As such , in relation to the example scenario of        receive object location information or user -defined zone
  FIG . 2 , the method 500 enables the user (i. e ., the mother ) to   information .
  associate a GPS device with her daughter ' s vehicle , to define       In an alternative arrangement, steps 502 and 504 of
  three user- defined zones, and to define object location events      method 500 could also be used with method 600 whereby a
  associated with the three user-defined zones causing, upon 60 user ( e . g ., the mother ) also associates an access code with
  the occurrence of the object location events , emails to the  the user-defined zone information for conveyance to another
  sent to the mother and her PDA to beep . By also associating         user with knowledge of such access code ( e . g ., the father ).
  user - defined zone information access codes with the three          Under such an alternative arrangement, the object location
  defined user - defined zones , the mother also enables the           event can be defined by any user ( s ) having access to the
  user -defined zone information to be conveyed to another 65 user -defined zone information or only the user that defined
  user with knowledge of the access code, such as the father           the user -defined zone. In either case , only the user that
  of the daughter.                                                     defines an object location event can associate an object


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  location event information access code with object location            In accordance with the present invention , one or more
  event information corresponding to the object location              location information sources can be associated with an
  event.                                                              object to provide object location information consisting of a
     FIG . 7 illustrates a fifth embodiment of a method of the        one or more coordinates corresponding to one or more
  invention where object location information is conveyed to 5 determined locations of the object within an established
  computing devices based upon an object location informa-            coordinate system . In accordance with the invention , one or
  tion access code and user identification codes, user -defined       more coordinate systems can be established by an adminis
  zone information is conveyed to computing devices based             trator to describe object locations within an information
  upon a user -defined zone information access code and user          sharing environment. The coordinate system may be estab
  identification codes , and object location event information is 10 lished to accommodate the coordinate system used by any
  conveyed to computing devices based upon an object loca -           suitable map service . A typical coordinate system is known
  tion event information access code and user identification          as the latitude , longitude , and height system . Alternative
  codes . Referring to FIG . 7 , in the method 700 , the steps of coordinate systems include the Earth Centered , Earth Fixed
  method 600 are again used with the addition of the two steps Cartesian (ECEF X - Y - Z ) coordinate system , Universal
  402, 404 of method 400 and the two steps 502 , 504 of 15 Transverse Mercator (UTM ) coordinate system , Military
  method 500 . With these additional four steps, when referring       Grid Reference System (MGRS ), World Geographic Refer
  to the example of FIG . 2 , the mother could associate object ence System (GEOREF ), Universal Polar Stereographic
  location information access codes and user -defined zone            projection (UPS ) , national grid systems, state plane coordi
  information access codes with object location information nates, public land rectangular surveys , metes and bounds ,
  and user -defined zone information , respectively , in such a 20 etc . A coordinate system may also be established corre
  way as to allow both parents to receive emails, beeps , and      sponding to a domain , for example , an office building or a
  view the movement of the daughter ' s car using their respec -   shopping mall . Additionally, one or more users may define
  tive PDAs.                                                       a coordinate system for example , making the location of a
     In accordance with the present invention , an administrator      user' s home or business or a user's own location the (0 ,0 )
  of an information - sharing environment maintains a database 25 reference point within an X - Y coordinate system . As such ,
  of user information for those having access to the informa-         computing devices used in accordance with the invention
  tion - sharing environment. Such a database can be main             may include means for translating between coordinate sys
  tained on a central or distributed control station that may be      tems. Coordinate systems may be based upon the location
  a company ' s computer server or on an individual' s personal information source( s ) used . For example , a GPS receiver
  computer. Information maintained for a user typically 30 location information source may be placed at a location , for
  includes a user account name and password and a user                example the entry door of a building, and its GPS location
  identification code , and may include a variety of information      in latitude and longitude and height used as a ( 0 , 0 ,0 )
  about the user including the user' s name, address , phone          reference point for a coordinate system used inside the
  number(s ), email address (s ), company name, title , birth date,   building along with a second location information source
  etc . A user may be given access privileges to certain classes 35 such as UWB system better suited for indoor operation . As
  of information based on the user ' s position or role within a      such , one or more coordinate systems established by an
  company or family , a Government security clearance , and/ or       administrator or by a user of an information - sharing envi
  for other reasons deemed appropriate for a given informa-           ronment can be used to provide object location information .
  tion -sharing environment.                                             In accordance with the present invention , when a user
     An administrator can define one or more groups to which 40 associates multiple location information sources with an
  a given user can be associated . Groups may be defined in     object, the user can determine whether or how the object
  accordance with an organizational structure or hierarchy. For       location information is used ( e . g . , combined ). In particular,
  example , an administrator for an information - sharing envi-       the user can determine how handoffs are to occur between
  ronment corresponding to a company may define groups for            location information sources such as switching among avail
  the various organizations within the company, such as legal, 45 able GPS satellites based on received signal strength or
  accounting, shipping, etc ., and for groups of users notbased       switching between a GPS and UWB system when a user
  on organization , such as executive , management, adminis -         goes indoors , which might be based on loss or degradation
  trative , exempt employees, non - exempt employees , etc .    of a GPS signal. Handoff among location information
  After a group has been defined , the administrator can       s ources can be based upon object location information .
  associate individual users with one or more of the defined 50 In accordance with the present invention , a user that
  groups . Similarly, a parent administering an information           associates an information location source with an object can
  sharing environment might define groups such as parents , determine how often object location information is updated .
  teenagers, children , drivers , and so forth . Information main - Under one arrangement, the user can determine the rate at
  tained for a group typically includes a group name and group      which object location information is provided . Under
  identification code , and may include a variety of information 55 another arrangement, object location information may be
  about the group including the group ' s address , phone num       provided by the location information source at a certain rate
  ber, email address, website, point-of-contact, etc . As such , a    which the user may select as the appropriate update rate or
  user may be associated with one or more groups defined by     the user may select to update object location information
  an administrator of an information - sharing environment.     less often or to only maintain (or use ) the current object
     In accordance with the present invention , any user can 60 location information . Depending on whether object location
  define a group , for example , a group of friends, a study          information is being logged (i. e ., stored ) and /or conveyed to
   group , etc . Information for such user - defined groupsmay be     other users , decisions concerning the update rate typically
  maintained in a central database or may be maintained on an         involve a tradeoff of available storage capabilities (e . g ., in
  individual user 's computer. As such , knowledge of the             memory, to a physical storagemedia , etc .) versus granularity
  defined group may be available to other users of an infor- 65 of stored object location information and resulting accuracy
  mation -sharing environment or may bemaintained solely for of its display on a map . For example , object location
  an individual user' s benefit.                                      information stored in a log file once every 5 seconds would


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  allow a more accurate display of the movement of a vehicle            information . A world map might be used , for example, that
  than object location information stored once per minute, but          enables the locations of ships traveling to and from user
  the once per 5 second update rate requires twelve times the           defined zones associated with various ports around the world
  storage space compared to the space required to store object          to be displayed . A map of an amusement park mightbe used
  location information once per minute . When only maintain - 5 by a family visiting the park . A map may correspond to the
  ing the current object location information , the same                inside of a building such as an office building or a shopping
  memory /storage location can be repeatedly rewritten . The            mall. A map may correspond to a battlefield . As such , map
  selected update rate also determines how often the object             information corresponding to a given electronic map would
  location information can be conveyed to users . The user can          be accessible to the computing devices of the information
  also determine whether a time stamp is associated with each 10 sharing environment receiving object location information ,
  update to indicate the actual time that an object was at a            zone information , and / or object location event information
  given location .                                                      that is to be displayed on the map . However, certain types of
     As previously described , the user that associates an infor -      devices may be included in the information sharing envi
  mation location source with an object can also associate an           ronment that do not have the ability to receive or display a
  object location information access code with the object 15 map but that can receive useful object location information ,
  location information provided by the information source and           zone information , and / or object location event information ,
  can thereby manage the conveying of the object location               nonetheless. For example, an expecting woman might define
  information to one or more users . As generally described             a zone around her hospital and an object location event
  above , an object location information access code can      causing her Blackberry to call her sister 's cellular telephone
  specify individual users or groups allowed access to the 20 when her car enters the zone telling her that she has safely
  object location information ,may specify a password a user            arrived at the hospital to deliver her baby.
  must know to receive access to the object location informa               Various commonly used map display management tech
  tion , and/ or may include a clearance classification code . As       niques can be employed in accordance with the present
  such , the object location information access code determines         invention . For instance , an automatic zoom level selection
  which user (s) are conveyed the object location information . 25 schememay be established where the zoom level defaults to
    In accordance with the present invention , a user that the closest in level that can display all user -defined zones .
  associates an information location source with an object can   An automatic centering approach might set the center of the
  determine whether to store object location information in a    map to correspond to the location of a given object such as
  log file , which can be played back . The storage of object    the current location of a user or to the average location of
  location information to a log file may be the result of the 30 multiple objects . Icons can be set to flash to indicate
  occurrence of a defined object location event. For example ,          movement or non -movement of an object. Colors of lines or
  a user could define two zones , a first object location event         areas indicating a zone may change when an object has
  that starts logging object location information when an               entered or exited the zone. Such map display management
  object exits the first zone, and a second object location event       techniques may be controllable by an administrator and /or
  that ends the logging of object location information when 35 by individual users .
  the object enters the second zone , thereby allowing the                 In accordance with the present invention , a user can define
  movement of the object between the two zones to be                    a user-defined zone on a map that can then be used to define
  reviewed at a later time. Alternatively , object location infor -     an object location event relating object location information
  mation may be provided by a simulation. For example ,                 to user-defined zone information . A user-defined zone can be
  military officers could define battle plans based upon move- 40 defined graphically using various techniques such as select
  ment of personnel and equipment having location informa-              ing a point and then dragging to another point to define
  tion sources into and out of defined zones and corresponding          either a rectangular shaped zone or a circular zone , drawing
  object location events . For training purposes, the movement          a zone by freehand to create a zone having an oddly shaped
  of personnel and equipment could be produced by a simu -              boundary , etc . As such , a user- defined zone has a boundary
  lation that inputs the object location information into the 45 that can be specified in accordance with an established
  information sharing environment allowing the military offi -   coordinate system . Typically user-defined zone information
  cers to react by changing plans, defining new zones, new              maintained for a user- defined zone includes a zone identi
  object location events , etc . Furthermore , object location          fication code and its boundary coordinates and may include
  information may be provided by emergency information                  a zone name, a zone security level, a zone danger level, etc .
  sources, which might indicate the location of a fire , flood , 50 Generally , a user that defines a zone can associate zone
  earthquake, bridge out, etc . or by weather information               information with the zone that can be conveyed to other
  sources, which might indicate the location of a severe                users.
  thunderstorm , tornado , winter storm , hurricane , etc .               As stated above , a user that defines a zone can also
     In accordance with the present invention , object location         associate a zone information access code with the user
  information and zone information is displayed on a map 55 defined zone information corresponding to the user-defined
  received from a map information source . In the example               zone and can thereby manage the conveying of the user
  described previously in relation to FIG . 2 , a map from an           defined zone information to one ormore users. As generally
  Internet map service was used that shows the streets of the           described above, a user -defined zone information access
  city of Huntsville , Ala . at an appropriate scale for illustrating   code can specify individual users or groups allowed access
  the movement of the daughter among three locations in the 60 to the user -defined zone information , may specify a pass
  city. Under one scenario , a user could zoom in or out from           word a user must know to receive access to the user -defined
  a street scale to a world scale .Generally , any electronic map       zone information , and/or may include a clearance classifi
  can be used in accordance with the present invention as               cation code. As such , the user - defined zone information
  appropriate to meet the informational requirements of the             access code determines which user ( s ) are conveyed the
  users involved . Furthermore , multiple maps can be used 65 user -defined zone information .
  allowing different levels of scale as appropriate for the                In accordance with the present invention , a user can define
  requirements of the user(s ) involved in the sharing of               an object location event relating object location information


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  to user -defined zone information . An object location event        domains. For example , three teenage girls , each carrying a
  may be something that is to occur whenever a specific object        smart phone with a location information source , go to a mall
  enters and /or leaves a specific user-defined zone or an object    where each of the three girls is a member of the mall ' s
  location event may be something that is to occur whenever          interactive shopping club . As they enter the mall , their smart
  an object is or is not within a specified proximity of a 5 phones automatically interface with the information sharing
  user -defined zone. Under one aspect the invention , the           environment available within themall. Their phones load the
  occurrence of an object location event results in the con          mall's map and begin to indicate their locations within the
  veyance of object location event information which includes        mall. The girls decide to split up and meet later at their
  object location information and user - defined zone informa
  tion . Typically , object location event information maintained 10 favorite hangout spot within the mall, which is a sitting area
  for a defined object location event includes an object loca near   the
                                                                          an escalator. One of them defines a user-defined zone on
                                                                         mall  ’s map corresponding to the sitting area and an
  tion event identification code and may include an object object location           eventwhereby the smart phones are sent an
  location event name, a time stamp , an object location event
  security level, an object location event danger level, etc .        email and caused to beep when any of the girls enters the
  Generally , a user that defines an object location event can 15 sitting area . They then split up to do some shopping . As they
  associate object location event information with the object        walk about the mall , they walk near kiosks that recognize
  location event that can be conveyed to other users . Under          their presence within predefined areas within the mall (via
  another aspect of the invention , the occurrence of an object       the smart phones) and the kiosks provide personalized
  location event results in performance of a function , includ -      specials such as, “ Cindy . Your favorite pre -washed jeans are
  ing the control of a device such as a camera , motion sensor, 20 30 % off !” When one of the girls finishes shopping, and goes
  garage door, web cam , lighting device, etc .                    to the sitting area , the other two girls are automatically
     In accordance with the present invention , a user that           emailed and their phones beep so that they know to go meet
  defines an object location event can also associate an object       their friend at the sitting area. With this example, the
  location event information access code with the object              user -defined zone (i.e ., the sitting area ) and the object
  location event information corresponding to the object loca - 25 location event ( i. e ., the emails /beeps) were not predefined as
  tion event and can thereby manage the conveying of the              were the personalized specials provided by the kiosks as the
  object location event information to one or more users . As         girls walked into predefined zones .
  generally described above, an object location event infor-             Thus, a key distinction between the user -defined zones of
  mation access code can specify individual users or groups           the present invention and predefined zones of previous
  allowed access to the object location event information , may 30 location -aware applications is that the occurrence of object
  specify a password a user must know to receive access to the        location events and the management of the conveyance of
  object location event information , and / or may include a          object location event information is determined by the user
  clearance classification code . As such , the object location       of the computing device and not by someone else . Take for
  event information access code determines which user (s ) are        example , a traveling salesman who wants to make his day
  conveyed the object location event information .            35 more efficient. In accordance with the present invention ,
    An important distinction exists between the user -defined    prior to venturing out on the road , the salesman determines
  zones and object location events of the present invention ,         the nine sales calls he intends to make for the day and defines
  and predefined zones (or domains) and predefined object             a user - defined zone about each sales call location . For each
  location events that have previously been used in location          user -defined zone he defines object location events related to
  aware applications. Predefined zones are used to provide 40 the location of his car and each zone . The time he enters or
  location -aware functionality in a useful but predetermined         leaves each zone is to be recorded and , as he enters each
  manner where users of computing devices within the infor-           zone, his PDA is to automatically receive the latest , up -to
  mation sharing environment do not define the domain ( s ) or        the -minute customer information maintained by his sales
  the events that occur as objects enter or leave the domains.        office . For all but his last sales call he defines an object
  A predefined zone may be a house, a room , a business 45 location event for when he leaves the corresponding zone to
  perimeter, or a predefined area within a much larger area .         email his next sales call to let them know that he' s en route
  One or more events involving the location of objects relative       to their business. The email sentwhen leaving his fourth call
  to the predefined zone is predetermined . The user of the           specifically mentions he ' ll be arriving in about one hour that
  computing devices in prior art shared information environ           is to include a lunch break. He also defines an object location
  ment participates but does not otherwise control or manage 50 event to email his wife letting her know the time when he
  the conveyance of information , which has all been prede-           leaves the zone corresponding to his last sales call thus
  termined . For instance, an alarm condition may be set when         allowing her to better plan her evening .
  a person carries an object having a non - deactivated RFID            In accordance with the present invention , information
  tag into a predefined zone about an exit to a store whereby         packages can be associated with object location information ,
  the alarm condition causes a recorded warning message to 55 user -defined zone information , and / or object location event
  play on a loudspeaker. A motion detector may detect a               information where an information package may include a
  person walking through a predefined area near a building           picture, movie , audio file , document, and /or data file . The
  and turn on a light. Kiosks within a zoo may interact with       information packages may include sensor information
  individuals carrying tracking devices that enter predefined      received from one or more sensors including those sensors
  areas about the kiosks. A super mall, itself a domain ,may be 60 thatmeasure a characteristic of a physical environment, such
  subdivided into its tenant stores or even departments within        as temperature , humidity , radioactivity , etc . and /or sensors
  stores, each a separate domain , and customers carrying             that measure physical characteristics , such as heart rate ,
  tracking devices may be offered specials as they move about         breathing rate , etc . At least one time stamp may be associ
  the mall .                                                          ated with an information package indicating the timing of
     The user- defined zones of the present invention can be 65 the information included in the package, for example , the
  defined by any user of the information sharing environment.         times when pictures were taken or sensor measurements
  User - defined zones can be used in conjunction with                were made. Under one arrangement, any user can associate



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  an information package with object location information , As such , user location information described below corre
  user -defined zone information , and / or object location event sponds to object location information generally described
  information .                                                       above.
     In accordance with the present invention , a user that              The Location and Tracking software is typically used in
  associates an information package with object location 5 the LOCATION mode. This means that a GPS connection is
  information , user-defined zone information , and/or object packets active and a polling rate is set to periodically send location
  location event information can also associate an information                  indicating the location of the user to a central
  package access code with the information package and can database            . If a user sets TRACKING to OFF, location packets
  thereby manage the conveying of the information package to only update the current location record . If TRACKING is set
  one or more users. As generally described above , an infor 10 tocanONbe, location      packet are saved in individual records that
                                                                               displayed as a “Mapped Track ' on a user's PDA ,
  mation package access code can specify individual users or Phone          , or PC .
   groups allowed access to the information package , may               Current   and prior user location information for one or
  specify a password a user must know to receive access to the        more users can be conveyed to one or more users having
   information package , and /or may include a clearance clas 10 - 15 access privileges to the user location information for display
  sification code . As such , the information package access     on the one or more users ' computing device ( s ). The current
   code determines which user (s ) are conveyed the information position of a given user is indicated by a black square . As
  package .                                                      such , as the user moves, black squares indicate the current
     Generally , the present invention enables any user of a and past location of the user thereby showing the movement
  multiple user computing environment to define object loca - 20 or path of the user.
  tion events relating object location information to user                 Zones comprise geographic boundaries. If the GPS
  defined zones and to manage to conveyance of object                    receiver indicates a user ' s location passes over a zone
  location event information based on user identification                boundary , an exit or entry alert is issued . A notification is
  codes. By also using access codes, multiple users can                  sent to one or more individuals as defined when the zone is
  collaboratively define and manage events and manage the 25 created . Different types of zones can be created with each
  conveyance of corresponding object location information ,              zone type causing different types of information to be
  user - defined zone information , and/ or object location event        conveyed when a user 's location enters , exits , and /or is
  information among computing devices . Moreover, the pres-              within a zone . Codes associated with the zones determine
  ent invention provides a system and method for generating              which users receive location information . As such , the codes
  user -defined location aware applications. Described below 30 associated with the zones correspond to the zone informa
  are four examples of such user -defined location aware        tion access codes and object location event information
  applications that are supported by the present invention .             access codes described generally above. Specifically , by
    Parole Officer Support                                               sharing the Phone number and Code other users can ‘load
    Parolees have associated with them a location information            the zone into their device and it will respond with alerts to
  source . A parole officer can , on a case -by - case basis , identify 35 the defined addressees thereby enabling group tracking and
  good locations and bad locations for parolees and define               location management.
  object location events for entering such good and bad                    FIG . 8 illustrates an exemplary PDA Application Launch
  locations causing him to be notified of a given parolee Screen 800 used to begin execution of the Location and
  visiting the locations.                                   Tracking software . Referring to FIG . 8 , a PDA application
    Pet Tracking                                         40 launch screen 800 typically includes various icons corre
     A pet has associated with it a location information source .        sponding to programs available for execution such as the
   The pet owner defines zones that the pet is supposed to stay          Location and Tracking software icon 802 . When a user
  in (e.g., a yard ) and may define zones in which the pet is not        selects the Location and Tracking software icon 802, the
  allowed (e .g ., a garden ). An object location event for leaving      Location and Tracking software is executed .
  the yard sends an email and phones the pet owner. An object 45           FIG . 9 illustrates an exemplary Main Screen 900 of the
  location event for entering the garden might cause a siren to          Location and Tracking software that appears when the
  go off to scare the pet .                                              software is launched . The Main Screen 900 is the primary
     Child Tracking                                                      screen from which additional screens of the software are
     A child has associated with it a location information               accessed via the buttons labeled Maps, Contacts , GPS ,
  source. A parent identifies zones in the neighborhood where 50 Config , Groups , Camera , and Buttons. Main Screen 900 is
  the child is allowed to play and explicitly not allowed to             also the screen to which the user of the software is returned
  play . Object location events are defined where the parent is          when closing screens associated with the buttons. The Exit
  emailed or otherwise notified as the child moves about the             button ends execution of the software and returns the user to
  neighborhood .                                                        the Application Launch Screen 800 .
    Hiking                                                            55 FIG . 10 illustrates an exemplary Configuration Screen
     Several hikers have associated with them location infor-            1000 of the Location and Tracking software used to manage
  mation sources . The hiking trail as indicated on a map                information corresponding to the user of the PDA (or other
  includes user - defined zones corresponding to key locations           computing device ). The user of the program accesses the
  along the route . Object location events are defined such that         Configuration Screen 1000 by selecting the Config button of
  each hiker receives an email on their smart phone whenever 60 the Main Screen 900 . Configuration Screen 1000 provides
  another hiker enters or exits a zone.                         fields for entering a user data access code, user phone
     The present invention is implemented by a Location and              number, log file name, and a user domain or IP address . The
  Tracking software that executes on PDAs, telephones, and screen is also used to toggle logging on and off .
  personal computers . The Location and Tracking software is        FIG . 11 illustrates an exemplary GPS Screen 1100 of the
  used for tracking the location ofa userwhereby user location 65 Location and Tracking software used to manage a GPS
  information is conveyed to contacts based upon the location     receiver that is associated with a user ' s PDA (or other
  of the user relative to one or more zones defined by the user. computing device ) via a Bluetooth connection .GPS Screen



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  1100 includes fields for displaying and controlling GPS                      The row of buttons 1302 displayed on the bottom of Data
  device settings , a button for turning the Bluetooth connec               Screen 1304 , Zone Screen 1306 , Size Screen 1308 , and
  tion on and off, a button for turning the GPS device on and               About Screen 1310 also includes a Close button that when
  off, and buttons for controlling whether real- time or simu  selected returns the user to the Main Screen 900 .
  lated GPS data is conveyed . GPS Screen 1100 also includes 5 FIG . 14 illustrates an exemplary Group Screen 1400 of
  Setup button 1102 used to launch the Tracking Setup Screen .              the Location and Tracking software used to manage infor
     FIG . 12a illustrates an exemplary Tracking Setup Screen               mation corresponding to groups of contacts . The Group
  1200 of the Location and Tracking software used to control                Screen 1400 is used to add or remove users from a stored
  the rate atwhich GPS information is polled , to examine GPS               ' buddy list containing the user name, phone number and
  information records, and to turn on or off the TRACKING 10 code for each 'buddy ' . If a public zone is available it can be
  mode. Tracking Setup Screen 1200 includes Files button                    selected and loaded into the user 's device . Users share
  1202 that is used to launch Log File Selection Screen 1204 access codes in order to share zones . As such , a user tells
  that is used to select a log file . A log file can be written to     another user the access code needed to load a zone.
  and then later read , as controlled by theUse button , to cause        FIG . 15 illustrates an exemplary Contact Screen 1500 of
  a play back of GPS information .                                 15 the Location and Tracking software used to manage infor
     FIG . 12b illustrates an exemplary Log File Selection mation corresponding to contacts (i.e ., other users ). The
  Screen 1204 of the Location and Tracking software used to           Contact Screen 1500 allows the user to populate information
  select a log file for storing GPS information . Log File corresponding to contacts such as name and address infor
  Selection Screen 1024 provides a typical Open dialog win            mation .
  dow allowing a user to open a log file stored at any storage 20 FIG . 16 illustrates an exemplary Camera Screen 1600 of
  location to which the user ( and the user 's device ) has access. the Location and Tracking software used to manage pictures
     FIG . 13a illustrates an exemplary Map Screen 1300 of the      associated with user location information . The Camera
  Location and Tracking software used to display a map                      Screen 1600 is used to associate pictures and textwith a user
  received from a map server. The Map Screen 1300 is used                   and to convey the picture information to other users . The
  to request and locate a map using the current latitude and 25 pictures correspond to information packages described gen
  longitude of the user , to turn the TRACKING mode on or                   erally above , which could also include other forms of
  off, to display / edit data location records , to create zones , and      information . The Camera Screen 1600 could alternatively be
  to size the map . These various functions are controlled via              a Device Screen that controlled multiple devices including
  a row of buttons 1302 at the bottom of Map Screen 1300 . cameras , motion sensors, garage doors , web cams, etc. and
  The row of buttons 1302 is also displayed on the bottom of 30 corresponding information as described previously. As
  Data Screen 1304 , Zone Screen 1306 , Size Screen 1308 , and              described previously , picture or other information packages
  About Screen 1310 .                                                       can be associated with zone information or event informa
     FIG . 13b illustrates an exemplary Data Screen 1304 of the             tion.
  Location and Tracking software used to manage conveyance                     FIG . 17 illustrates an exemplary Big Buttons Screen 1700
  of tracking and zone information to specific users based on 35 of the Location and Tracking software used to provide easy
  access codes. It is accessed by selecting the Data button                 access to key application commands while walking or
  included in the row of buttons 1302 displayed on the bottom               driving .
  of Data Screen 1304 , Zone Screen 1306 , Size Screen 1308 ,                  FIG . 18 illustrates an exemplary Map Viewer Web Page
  and About Screen 1310. Specifically , Data Screen 1304 is                 1800 used for displaying maps and other information con
  used to set access codes and to associate email addresses and 40 veyed by the Location and Tracking software .
  phone alerts with zones .                                                   FIG . 19 illustrates an exemplary Contact Viewer Web
     FIG . 13c illustrates an exemplary Zone Screen 1306 of the             Page 1900 used for displaying contact information conveyed
  Location and Tracking software used to define user -defined               by the Location and Tracking software .
  zones. It is accessed by selecting the Zone button included                  FIG . 20 illustrates an exemplary web page -based display
  in the row of buttons 1302 displayed on the bottom of Data 45 of a map 2000 overlaid with GPS tracking and zone infor
  Screen 1304 , Zone Screen 1306 , Size Screen 1308, and                    mation conveyed by the Location and Tracking software . In
  About Screen 1310 . The Zone Screen is used to define a                   FIG . 20 , balloon icons labeled alphabetically that indicate
  zone and/ or to load a zone defined by another user. A user               logged locations of a user for which information is available .
  can use the Zone Screen to controlwhether zone information                Also shown are two zones represented by rectangles . When
  is shared ( i. e ., made public ) to other users and to control 50 a given balloon is selected , information is displayed , for
  whether the TRACKING mode is on or off.                                   example , as shown in the information box in the center of the
     FIG . 13d illustrates an exemplary Size Screen 1308 of the             map corresponding to the balloon labeled F . Similarly ,
  Location and Tracking software used to manage the size and                information is displayed corresponding to either of the zones
  other characteristics of a displayed map . It is accessed by              when either is selected .
  selecting the Size button included in the row ofbuttons 1302 55             FIG . 21 illustrates an exemplary web page for creation of
  displayed on the bottom of Data Screen 1304 , Zone Screen                 zones 2100 that can be used with the Location and Tracking
  1306 , Size Screen 1308 , and About Screen 1310 . The Size                software . As shown in FIG . 21 , a zone is created by selecting
  Screen 1308 is used to set the scale ( or zoom ) of the map ,             a first point on a map indicated by a first balloon and
  to turn on or off the display of zone boundaries, and to                  dragging to another point on a map indicated by a second
  control auto centering of maps .                                       60 balloon where the two points correspond to opposite corners
     FIG . 13e illustrates an exemplary About Screen 1310 of                of a rectangle representing the user-defined zone boundary .
  the Location and Tracking software used to provide a notice                 FIG . 22 illustrates an exemplary map displayed on a web
  concerning Tracking Privacy Issues , software version infor-              page 2200 depicting logging of user location information
  mation , and copyright information . It is accessed by select -           while a user is within a zone and logging of user location
  ing the About button included in the row of buttons 1302 65 information when a user enters or leaves a zone . As depicted
  displayed on the bottom of Data Screen 1304 , Zone Screen   in FIG . 22 , one type of zone 2202 provides user location
  1306 , Size Screen 1308 , and About Screen 1310 .           information periodically while a user is within the zone .


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  Another type of zone 2204 only provides user location                     ment by the first carrier and 2 ) a second mobile device
  information when the user enters or exits the zone .                      identified by a second DID to receive a second infor
     FIG . 23 illustrates an exemplary map displayed on a web               mation comprising information indicating 1 ) locations
  page 2300 depicting a picture associated with a location of                of a second carrier of the second mobile device having
  a user. As shown in FIG . 23 , a balloon labeled F corresponds 5           a second CID and ii) a second movement by the second
  to a location ofa user. An information package consisting of               carrier; and
  a picture that has been associated with the user 's location is         (f) interfacing over the first network with one or more
  available as part of the information displayed when the                    computing devices to enable the group administrator to
  balloon is selected. In the information window is a thumb                  log into the administrator account to perform the group
  nail of the picture which when selected displays the fully 10              administrative functions, including :
  enlarged picture.                                                          i) setting a zone identified by a zone ID (ZID ) for the
     The Location and Tracking software described herein was                    group , wherein a location of the zone is independent
  provided as an example of the types of applications that are                  of the locations of the first carrier or the second
  enabled by the present invention . While particular embodi                    carrier,
  ments and several exemplary applications (or implementa - 15               ii) setting a first event condition for a first group event
  tions) of the invention have been described , it will be                      that occurs if it is determined that the first event
  understood , however, that the invention is not limited                       condition is met based on the locations of the first
  thereto , since modifications may be made by those skilled in                 carrier or the second carrier within or relative to the
  the art, particularly in light of the foregoing teachings . It is ,          zone,
  therefore, contemplated by the appended claimsto cover any 20              iii ) setting a second event condition for a second group
  such modifications that incorporate those features or those                    event that occurs if it is determined that the second
  improvements which embody the spirit and scope of the                        group event condition is met based on the first
  present invention .                                                          movement or the second movement, and
     The invention claimed is :                                              iv ) specifying an access list comprising one or more
     1 . A method for controlling conveyance of event notifi- 25                 IDs that identify one or more recipients including the
  cations based on a first level of administrative privileges                    authorized user of the group who are authorized to
  used by a tracking service administrator of a tracking service               access event notifications whenever the first group
  provided over a first network of computing device to autho                    event or the second group event occurs ; and
  rized users who track mobile devices identified in a database           ( g ) giving access to the event notifications based on the
  (DB ) by mobile device IDs (DIDs ), wherein the mobile 30                   access list.
  devices are carried by corresponding carriers , including                2 . The method of claim 1 , where the group administrative
  objects , vehicles , animals or persons identified by carrier         functions include authorizing access to a sub - group admin
  IDs (CIDs) in groups identified by corresponding group IDs            istrator account of a sub - group administrator of a sub - group
  (GIDs) in the DB , the method comprising the steps of:           in the group having a plurality of sub -group authorized
    ( a ) using the first level of administrative privileges to 35 users , including the sub - group administrator who is autho
        provides access authorization to user accounts of the rized to use of a third level of administrative after accessing
       tracking service in response to received log in requests         the sub - group administrator account for performing sub
       that contain IDs and passwords of the authorized users           group administrative functions including specifying a UID
       of the groups;                                                   of an authorized user of the sub - group on the access list.
     (b ) based on the login requests , providing access autho - 40 3 . The method of claim 2 , wherein the tracking service
        rization to the user accounts using a first database       administrator specifies functions that are performed by the
        management system application (DBMSA ) executed            authorized user based on roles in the groups after access
       on one or more central or distributed servers configured         authorizations are given to the user accounts .
       to use the DBMSA for performing functions based on                 4 . The method of claim 3, wherein the first carrier is a
      multiple levels of administrative privileges including 45 person who becomes an authorized user of the group or the
         the first level of administrative privileges;             sub - group after accessing the person 's user account based on
     (c ) based on the first level of administrative privileges, the first CID as a driver of a vehicle having a vehicle ID
         giving a second level of administrative privileges to     (VID ), wherein the first event condition is met based on
         perform group administrative functions in a group         proximity of the driver to the vehicle within the zone before
        identified by a GID , which are not performed using the 50 associating the first CID with the VID in the DB .
         first level of administrative privileges , wherein mem -     5 . The method of claim 3 , wherein the first carrier is a
        bers of the group include 1) a group administrator person who becomes an authorized user of the group or the
       having a group administrator account who is authorized           sub - group after accessing the person ' s user account from the
      by the tracking service administrator to use the second           first mobile device .
       level of administrative privileges and 2 ) an authorized 55 6 . The method of claim 1 , wherein the first movement by
       user in the group having a user account who is not the first carrier or the second movement by the second
       authorized to use the second level of administrative       carrier is determined based on carrier locations or detected
       privileges;                                                 carrier motions .
     (d ) providing access authorization to the administrator              7. The method of claim 1 , wherein the mobile devices
       account before performing the group administrative 60 determines the occurrence of the first group event and the
       functions using the second level of administrative privi- second group event.
       leges ;                                                     8 . The method of claim 1 , the DDMSA determines of the
    ( e ) interfacing over one or more wireless networks with 1 )       occurrence of the first group event or the second group
      a first mobile device identified by a first DID to receive event.
      a first location information comprising information 65 9 . The method of claim 1, wherein the second event
      indicating 1 ) locations of a first carrier of the first   condition is met based on a physical characteristic of the first
      mobile device having a first CID and 2 ) a first move - carrier or the second carrier including a determined carrier



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  location , carriermotion , carrier speed , heart rate of a person              authorized user of the group who are authorized to
  who is a carrier or power up state of a vehicles or object that               access event notifications whenever the first group
  is a carrier.                                                                  event occurs ; and
     10 . The method of claim 9 , wherein an event notification             (g ) giving access to the event notification based on the
  contains information related to the physical characteristic , 5             access list .
  including the locations of the first carrier or the second                13 . The method of claim 12, wherein the first carrier is the
  carrier where the second event condition is met .                      group administrator and the second carrier is the authorized
     11 . The method of claim 1 , wherein the DIDs are the               user, wherein the method further includes the steps of
  carrier IDs.                                                           receiving over the one or more wireless networks 1 ) a log in
     12 . A method for controlling conveyance of event notiti 10 request   to access the group administrator account from the
                                                                 first mobile device before specifying the access list and 2 ) a
  fications based on a first level of administrative privileges log    in request to access the user account from the second
  used by a tracking service administrator of a tracking service         mobile device before providing access to an event notifica
  provided over a first network of computing device to autho             tion by the authorized user.
  rized users who track mobile devices identified in a database 15           14 The method of claim 12 further comprising the steps
  (DB ) by mobile device IDs (DIDs), wherein the mobile                  of 1 ) receiving an information package including a tempe
  devices are carried by corresponding carriers , including              ture, humidity , heart rate , motion, speed , image, video or
  objects , vehicles or persons identified by carrier IDs (CIDs)         multi-media file that is incorporated into the information
  in groups identified by corresponding group IDs (GIDs) in              package from the first mobile device or the second mobile
  the DB , the method comprising the steps of:                        20 device after it is determined that the group administrator or
    (a ) using the first level of administrative privileges to           the authorized user is within the zone and 2) providing
       provide access authorization to user accounts of the              access to the information package.
       tracking service in response to received log in requests             15 . The method of claim 12 , wherein after accessing the
       that contain IDs and passwords of the authorized users            user account, the authorized user is a second group admin
       of the groups ;                                                25 istrator that performs the group administrative functions in
     (b ) based on the login requests , providing access autho -         a second group identified by a second GID , including
        rization to the user accounts using a first database             specifying a second access list for accessing second event
       management system application (DBMSA ) executed                   notifications comprising one or more IDs that identify one or
        on one or more central or distributed servers configured      more recipients including a second authorized user of the
         to use the DBMSA for performing functions based on   on 3030 notifications
                                                                      second group who is authorized to access second event
        multiple levels of administrative privileges, including second zone .whenever a second group event occurs in a
        the first level of administrative privileges ;                   16 . The method of claim 12, wherein the first group event
     (c ) based on the first level of administrative privileges , occurs
         giving a second level of administrative privileges to 35 carrier based within onthea proximity
                                                                                               zone of the first carrier to the second
        perform group administrative functions in a group                17 . A method for tracking driving events comprising steps
         identified by a GID , which are not performed using the of:
         first level of administrative privileges , wherein mem          ( a ) using a server to execute a database management
       bers of the group include 1) a group administrator                     system application (DBMSA ) that performs functions
       having a group administrator account who is authorized 40              based on multiple levels of administrative privileges
       by the tracking service administrator to use the second                including a first level of administrative privileges of a
       level of administrative privileges and 2 ) an authorized               tracking service provider having a system administrator
       user in the group having a user account who is not                     that uses the first level of administrative privileges for
       authorized to use the second level of administrative                   maintaining a database (DB ) that identifies users of the
        privileges;                                               45           tracking service by identification codes ( IDs);
     (d ) providing access authorization to the administrator               (b ) using the first level of administrative privileges to 1)
        account before performing the group administrative                     create company groups based on company IDs of
         functions using the second level of administrative privi              companies , 2 ) authorize a company group to use a
       leges ;                                                                second level of administrative privileges, which is not
     ( e ) interfacing over one or more wireless networks with 1 ) 50         used by the system administrator, and 3 ) create an
       a first mobile device identified by a first DID to receive             administrator account for a company administrator of
       a first location information comprising information                    the company who is authorized to use the second level
       indicating locations of a first carrier of the first mobile            of administrative privileges;
       device having a first CID and 2 ) a second mobile device             (c ) based on a received company administrator ID in a
       identified by a second DID to receive a second infor - 55              request to log into the administrator account, providing
       mation comprising information indicating locations of                  access authorization to the administrator account
        a second carrier of the second mobile device having a                 before providing one or more user interfaces that
        second CID ; and                                                      receive an access list from the company administrator
     (f) interfacing over the first network with one or more                  using the second level of administrative privileges, the
       computing devices to enable the group administrator to 60              access list identifying one or more authorize recipients
       log into the administrator account to perform the group                of event information who are not authorized to use the
       administrative functions, including:                                    second level of administrative privileges ;
       i) setting a zone for occurrence of a first group event             ( d ) creating a driver account for a driver of a vehicle based
           that occurs based on the locations of the first carrier            on the second level of administrative privileges which
           or the second carrier within or relative to the zone, 65           authorizes the driver to log into the driver account
       iii) specifying an access list comprising one or more                  based on a driver ID and password to become an
          IDs that identify one ormore recipients including the               authorized user in the company group ;



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    (e ) receiving a request to log into the driver account from
       a mobile computing device (MCD ) carried by the
       vehicle ;
    (f) receiving driver location information indicating loca
       tions of the driver;
    (g ) receiving driving event information indicating a ) the
       vehicle is powered on, b ) times and locations of a
      movement driving event, c ) times and locations of a
       non -movement driving event, d ) additional information
       entered or written by the driver in an event log file after 10
       providing the access authorization to the driver user
       account;
    (h ) conveying the driving event information based on the
       access list.
     18 . The method of claim 17 , further including the step of 15
  receiving an event log file that contains recorded driver
  location information and driving event information .
     19 . The method of claim 18 , further including the step of
  receiving a location log file different from the event log file
  that contains recorded driver location information between 20
  two boundaries of a zone .
    20 . The method of claim 17 , where the company admin
  istrator authorizes access to a sub - group administrator
  account of a sub - group administrator of a sub -group in the
  company group having a plurality of sub - group authorized 25
  users , including the sub - group administrator who is autho
  rized to use of a third level of administrative after accessing
  the sub - group administrator account for performing sub
  group administrative functions including specifying a UID
  of an authorized user of the sub - group on the access list. 30




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